UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------x
In re

                                                          Chapter 11
JUAN ALFARO DESIGN, INC.                                  Case No. 19-42177 (CEC)

                  Debtor.
------------------------------------------------------x

    ORDER GRANTING MOTION OF 150 SULLIVAN STREET REALTY
       TO COMPEL PAYMENT OF ACCRUED POST PETITION RENT
    PURSUANT TO 11 U.S.C. § 365(d)(3) AND CONDITIONALLY GRANTING
               RELIEF FROM AUTOMATIC STAY (CEC)


        Upon consideration of the Motion of 150 Sullivan Street Realty to Compel

Payment of Accrued Post Petition Rent, Pursuant To 11 U.S.C. § 365(d)(3), Or In The

Alternative For An Order Deeming Its Lease Rejected And Modifying The Automatic

Stay To Allow Movant Landlord To Pursue State Court Remedies, Juan Alfaro Design,

Inc. (the “Debtor”) (CEC) and parties in interests’ response thereto, and after the Court

considering the presentation of the parties at a hearing held to consider the matters raised

in the motion, and the Court finding that the factual and legal basis for the relief

requested in the motion exists, and sufficient notice and a reasonable opportunity to

object or be heard with respect to the Motion has been provided and that no other or

further notice is or shall be required; therefore,

        IT IS HEREBY ORDERED THAT:

        (1) the Motion of 150 Sullivan Street Realty to Compel Payment of Accrued

Post Petition Rent, pursuant to 11 U.S.C. § 365(d)(3) is granted to the extent provided herein

(CEC); and
        (2) within 30 days from the date of this order, the Debtor is hereby ordered to

 immediately pay 150 Sullivan Street Realty the amount of any unpaid rent, interest, late

 charges, taxes, attorneys fees and any and all other charges owing under the Lease that

 became due on or after the date Debtor filed for protection under the Bankruptcy Code

 and remain current on all obligations under the Lease; (CEC)

        (3) If the Debtor fails to comply with the terms of this order, 150 Sullivan

 Street Realty may settle an affidavit of noncompliance and a proposed order lifting the

 automatic stay pursuant to 11 U.S.C. § 362(d) on one week’s notice to the Debtor and

 the Debtor’s counsel. (CEC)




                                                           ____________________________
Dated: Brooklyn, New York                                          Carla E. Craig
       July 11, 2019                                       United States Bankruptcy Judge
